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LAW OFFICE OF RONALD L. KUBY

ATTORNEYS AT LAW
119 West 2382 STREET, SUITE 9OO
New York, New York [O01]

TELEPHONE: (212) 529-0223
RoNAvLD L. KuBy STAFF

RHIYA TRIVEDI Fax: (212) 529-0644 SUSAN BalILey
WWW.KUBYLAW.COM

 

 

PROCESS SERVER

Or COUNSEL
Luis R. AYALA 1952-2012

GEORGE WACHTEL
LEAH BusBy

January 18, 2022

Hon. Joan M. Azrack

United States District Judge
Eastern District of New York
Filing via ECF

Re: United States v. McPartland and Spota, 17-cr-587

Dear Judge Azrack:

As you know, I represent Gus Garcia-Roberts, a journalist and author who
has taken keen interest in the above entitled matter. His book is coming out on
May 3, 2022. https://www.publicaffairsbooks.com/titles/gus-garcia-
roberts/jimmy-the-king/978 1549 1503 19/

I write pursuant to his First Amendment rights, as well as the strong
presumption of openness in the federal courts, to request that the sentencing
minutes in United States v. Leto (Believed to be 15-591) and United States v.
Hickey (Believed to be 16-017) be unsealed and access provided to Mr. Garcia-
Roberts. It is my understanding that Mr. Leto was sentenced sometime late last
year, and Mr. Hickey is scheduled to be sentenced early this year. We cannot
locate these matters on the docket, so we are left to guess. We further request that
all documents on the docket be made public, barring a showing of some
extraordinary need, at this stage, for those documents (or portions thereof) to
remain under seal.

As you know, both men testified at trial and their status as cooperators must
have been fully revealed before the jury and the public. Thus, there is no reason to
protect this information, as there might be at earlier stages in the proceedings.
Since they have been, or about to be sentenced, this signifies that their period of
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cooperation has ended. Of course, in the process of extolling their virtues under
5K1.1, the government may have provided information related to ongoing
investigations or matters that require continuing secrecy so as not to compromise
investigations or prosecutions. Those matters, if they exist, can be redacted. But
their appears no lawful reason why the rest of the sentencing minutes should

remain sealed.

Thank you for your attention to this matter.

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Sinessely:
Ronald L. Kuby
